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                    IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA

DORALIZ CASARES ROSADO
and CARLOS I. GONZALEZ, her
husband,                                            Case No: _________________________

               Plaintiffs,

v.

UNITED STATES OF AMERICA,

           Defendant.
_______________________________/

                    COMPLAINT FOR DAMAGES UNDER THE
                        FEDERAL TORT CLAIMS ACT

      The Plaintiffs, DORALIZ CASARES ROSADO and CARLOS I.

GONZALEZ, her husband, by and through their undersigned attorney, sue the

Defendant, UNITED STATES OF AMERICA, and the Plaintiffs allege as follows:

                JURISDICTION, VENUE AND INTRODUCTION

      1.      Plaintiffs, DORALIZ CASARES ROSADO and CARLOS I.

GONZALEZ, bring this complaint against the UNITED STATES OF AMERICA

pursuant to the Federal Tort Claims Act (“FTCA”), 28 U.S.C. Section 1346(b).

      2.      Formal Notice of this claim was made upon the Defendant, UNITED

STATES OF AMERICA, through the Department of Health and Human Services,

General Counsel, Claims Office of the Defendant, UNITED STATES OF


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AMERICA, by submitting Form 95-109 , dated October 15, 2020, within the Statute

of Limitations. See Composite Exhibit “1”, Standard Form 95.

      3.       The Plaintiffs Formal Notice was delivered on October 16, 2020 and

acknowledgment of such delivery was received. See Composite Exhibit “2”,

Delivery    Confirmations           and      December          11,     2020     Acknowledgment            of

Administrative Tort Claims by Department of Health and Human Services,

General Counsel, Claims Office of the Defendant, UNITED STATES OF

AMERICA.

      4.       The timeframe of six (6) months expired on April 13, 2021, for a

response by Department of Health and Human Services, and therefore, is deemed

denied. Therefore, the Plaintiffs have exhausted their claims by filing the required

forms with the Defendant and having their claims denied.

      5.       The Complaint is being filed within the applicable statute of

limitations.

      6.       This action seeks damages for physical injuries suffered by DORALIZ

CASARES ROSADO as a result of negligent medical care and treatment at Family

Health Centers of Southeast Florida, Inc., on July 10, 2019.



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      7.       This Court has subject matter jurisdiction over this claim against the

UNITED STATES OF AMERICA for money damages pursuant to 28 U.S.C. Section

1346(b).

      8.       The acts and/or negligence giving rise to this claim occurred in the

Middle District of Florida. Venue is proper under 28 U.S.C. Section 1402(b).

      9.       Family Health Centers of Southeast Florida, Inc. is a Federal Qualified

Health Center located in Lee County, Florida.

      10.      All pre-requisites to filing this Complaint have been timely satisfied.

                                               PARTIES

      11.      Plaintiff DORALIZ CASARES ROSADO at all times relevant hereto

was and is a resident of Lee County, Florida.

      12.      Plaintiff CARLOS I. GONZALEZ at all times relevant hereto was and

is a resident of Lee County, Florida.

      13.      Plaintiffs, DORALIZ CASARES ROSADO and CARLOS I.

GONZALEZ, at all times relevant hereto were married.

      14.      At all times material hereto, Defendant, UNITED STATES OF

AMERICA, by Federal statute, is responsible under the Federal Torts Claim Act



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for any negligent acts and omissions of employee, agents and apparent agents of

Family Health Centers of Southeast Florida, Inc.

      15.     Juan Pablo Richiusa, M.D. was either an employee, agent, or servant

of Family Health Centers of Southeast Florida, Inc., a Federal Qualified Health

Center, which is covered under the provisions of the Federal Tort Claims Act.

      16.     Jeffry L. Garner, M.D., was either an employee, agent, or servant of

Family Health Centers of Southeast Florida, Inc., a Federal Qualified Health

Center, which is covered under the provisions of the Federal Tort Claims Act.

      17.     At all times material to this cause of action, other unknown and

unnamed medical staff provided care and treatment to DORALIZ CASARES

ROSADO, who were the agents, servants, and/or employees of Family Health

Centers of Southeast Florida, Inc. and were acting on behalf of Family Health

Centers of Southeast Florida, Inc. and were within the course and scope of their

agency and under its control.

      18.     Defendant UNITED STATES OF AMERICA is sued for DORALIZ

CASARES ROSADO’s personal injuries caused by the negligence or wrongful

acts of employees and/or agents of Family Health Centers of Southeast Florida,

Inc. Those employees and/or agents were acting within the scope of their office or

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employment during all times referenced hereto. Under the circumstances, the

UNITED STATES OF AMERICA, if a private person, would be liable to the

Plaintiffs in accordance with the laws of the State of Florida. See 28 U.S.C. Section

1346(b).

                                  FACTUAL ALLEGATIONS
       19.     On July 10, 2019, at approximately 6:00 a.m., DORALIZ CASARES

ROSADO, a 40-year-old female, presented to Gulf Coast Medical Center for a

scheduled outpatient laparoscopic removal of her uterus.

       20.     DORALIZ CASARES ROSADO’s attending physician and surgeon

at that time was documented as Juan Pablo Richiusa, M.D. Dr. Richiusa was either

an employee, agent, or servant of Family Health Centers of Southeast Florida, Inc.,

a Federal Qualified Health Center, which is covered under the provisions of the

Federal Tort Claims Act.

       21.     DORALIZ            CASARES             ROSADO’s             assisting       surgeon        was

documented as Jeffry L. Garner, M.D. Dr. Garner was either an employee, agent,

or servant of Family Health Centers of Southeast Florida, Inc., a Federal Qualified

Health Center, which is covered under the provisions of the Federal Tort Claims

Act.


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         22.     At 9:40 a.m., DORALIZ CASARES ROSADO’s laparoscopic surgery

began and        near the conclusion of the surgery, Dr. Richiusa removed the Foley

catheter, performed the cystoscopy and visualized the dome of the bladder to be

intact. However, Dr. Richiusa also found what he described as a bloody tinge

fluid.

         23.     It was at that time that some of the fluid was removed and Dr.

Richiusa discovered what he described as a cystotomy injury to the posterior

aspect of the bladder.

         24.     Nonetheless, Dr. Richiusa minimized the extent of the injury, placed

the FloSeal at the operative site, closed the incisions and placed vaginal packing.

         25.     DORALIZ CASARES ROSADO’s right ureteral was significantly

injured during her surgery.

         26.     Additionally, appropriate care was not provided to DORALIZ

CASARES ROSADO to prevent the potential for further injury as more fulling

described herein.

         27.     No further action was taken by the healthcare providers rendering

care and treatment to DORALIZ CASARES ROSADO to remedy her injured



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right ureteral. These failures resulted in a delay of treatment, as well as risk of

further injury and infection to DORALIZ CASARES ROSADO.

      28.         Dr. Richiusa did not request a urology consult during the surgery,

which was needed to assess and repair the damages that was done to her right

ureteral.

      29.         As a result of Defendant’s negligence, DORALIZ CASARES

ROSADO has suffered, and continues to suffer in the future, from severe injuries,

including but not limited to, multiple additional surgeries, bladder neck and

bladder prolapse requiring complete transection with pelvic exploration finding

urine and free fluid in the pelvis, full dissection and reimplantation of the ureter

to the right side of the bladder and stent placement.

      30.         DORALIZ CASARES ROSADO has suffered, and continues to

suffer in the future, pain and suffering, additional medical procedures and

medical care as a result of the negligence of Dr. Richiusa, and further damage.

                                       COUNT I NEGLIGENCE
      The Plaintiffs adopt and re-allege paragraphs 1 through 30 and further

allege:




                                                         7

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       31.     As a Federal Qualified Health Center, Family Health Centers of

Southeast Florida, Inc. is covered under the provisions of the Federal Tort Claims

Act.

       32.     At all times material to this cause of action, the Defendant, UNITED

STATES OF AMERICA, through the medical care providers, including but not

limited to Juan Pablo Richiusa, M.D. and Jeffry L. Garner, M.D., at Family Health

Centers of Southeast Florida, Inc., a licensed and accredited health center, held

themselves out to the public in general and to DORALIZ CASARES ROSADO

and CARLOS I. GONZALEZ, as a health center and providers that were capable

of providing the duty and level of care and skill which, under the circumstances,

is recognized as acceptable and appropriate by reasonably prudent similar health

care providers.

       33.     As a direct and proximate result of the negligent acts and omissions

of Juan Pablo Richiusa, M.D., Jeffry L. Garner, M.D., and other unknown medical

providers employed and/or agents of Family Health Centers of Southeast Florida,

Inc., DORALIZ CASARES ROSADO suffered permanent bodily injury, and

continues to suffer in the future.



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      34.       The aforementioned doctors, Juan Pablo Richiusa, M.D., Jeffry L.

Garner, M.D., breach their duty to DORALIZ CASARES ROSADO by one or

more of the following acts or failures to act:

            a. Failing to use reasonable and due c

            b. are in performing the laparoscopic removal of DORALIZ CASARES

               ROSADO’s uterus;

            c. Failing to request stat urological consult immediately after finding the

               ureteral injury during DORALIZ CASARES ROSADO’s surgery;

            d. Failing to properly advise the medical doctors as to DORALIZ

               CASARES ROSADO’s condition; and

            e. Failing to act as a reasonable medical provider under the

               circumstances.

      35.      As a direct and proximate result of the negligence of the medical

providers named above, the Plaintiffs make the below listed claims for damages.

                    CLAIMS FOR DAMAGES FOR ALL COUNTS

      36.      As a direct and proximate result of the negligence of the Defendant

which caused the injuries of DORALIZ CASARES ROSADO and CARLOS I.




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GONZALEZ, set forth the below listed claims on behalf of themselves

individually and DORALIZ CASARES ROSADO.

                     CLAIM OF DORALIZ CASARES ROSADO

      35. Plaintiff DORALIZ CASARES ROSADO, as a direct and proximate

result of the negligence of the Defendant as set forth above, has in the past and

will in the future continue to suffer the following damages:

              a. Bodily injury;

              b. Pain and suffering;

              c. Disability;

              d. Disfigurement;

              e. Loss of the capacity for the enjoyment of life;

              f. Aggravation of pre-existing conditions;

              g. Medical and hospital care and expenses;

              h. Loss of earnings;

              i. Loss of earning capacity in the future;

              j. Rehabilitation expenses; and

              k. Mental distress.




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                      CLAIM OF CARLOS I. GONZALEZ
                 AS HUSBAND OF DORALIZ CASARES ROSADO

      36.      As a direct and proximate result of the negligent conduct of the

Defendants that caused injury to DORALIZ CASARES ROSADO, CARLOS I.

GONZALEZ has, in the past, and will in the future, continue to suffer the loss of

companionship, society, love and affection, the medical expenses in the past and

in the future that have and will be incurred for the injuries to DORALIZ

CASARES ROSADO, economic loss including any earnings lost in the past and

any loss of ability to earn money in the future reasonably resulting from the need

to care or provide for the DORALIZ CASARES ROSADO.

      WHEREFORE, the Plaintiffs demand judgment against the Defendant for

compensatory damages in an amount in excess of the jurisdictional limits of this

Court, exclusive of interest and costs, as well as any other damages and/or costs

available by law.



                                 DEMAND FOR JURY TRIAL

      The Plaintiffs DORALIZ CASARES ROSADO further demand trial by jury

on all issues so triable as a matter of right.

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      DATED, this __17th___ day of May, 2021.

                                                 Respectfully submitted,
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                                                      /s/ Ryan A. Fogg
                                                 By_____________________________
                                                      RYAN A. FOGG (68773)




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